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                             RAMONA WATTS - CONFIDENTIAL
                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.:9:18-cv-80176-BB/BR

             ----------------------------------------
             IRA KLEIMAN, as the personal             )
             representative of the Estate of David    )
             Kleiman, and W&K Info Defense            )
             Research, LLC                            )
                                 Plaintiffs,.         )
                                                      )
                     v.                               )
                                                      )
             CRAIG WRIGHT                             )
                                 Defendant.           )
             ----------------------------------------

                                  DEPOSITION OF RAMONA WATTS

                                                On

                                    Thursday March 19, 2020

                                        At the offices of:

                                           SCA Ontier
                                          Halton House,
                                          20-23 Holborn,
                                         London EC1N 2JD,
                                         United Kingdom

             Taken by:
             AMY COLEY, Court Reporter
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                                                                         Page 141
        1                    RAMONA WATTS - CONFIDENTIAL
        2    Wright International, yes, the trust holds shares
        3    in Wright International.
        4               Q.      Right.    The next line, now this is
        5    directly about you, so I am just trying to give
        6    context to it.       It says:    "Ramona made a request
        7    to the director of this company, Denis Mayaka, in
        8    December 2019."       Do you see that?
        9               A.      I see what it is written, yes.
       10               Q.      Okay, it is true that you made a
       11    request to Mr. Mayaka; correct?
       12               A.      I did.
       13               Q.      Is it true that Mr. Mayaka is a
       14    director of Wright International Investments?
       15               A.      I don't know.
       16               Q.      Okay, so you don't know whether
       17    that statement is true or false; correct?
       18               A.      I do not know.       That is right.
       19               Q.      Now, he says specifically, now
       20    Dr. Wright has specifically testified about what
       21    he asked you to do; do you see that?
       22               A.      I do.
       23               Q.      "I asked my wife, who is the
       24    primary trustee of the trust, to obtain a copy of
       25    the trust agreement."        Is that true?
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        1                    RAMONA WATTS - CONFIDENTIAL
        2               A.      It could have been.         As I said,
        3    I don't have a specific recollection.
        4               Q.      He also asked you, according to
        5    this, to obtain the associated records, including
        6    the company accounts that related to the entities
        7    owned by the trust?
        8               A.      That one I specifically remember
        9    because he actually did say to me when we got --
       10    so we got the trust document in December, I think
       11    it was, and he said it was not the full documents,
       12    he said that there should be other company
       13    documents as well.        And I couldn't remember what
       14    Denis had and what he didn't have.             So I asked him
       15    again, I don't know if it was the end of December
       16    or early January, to give us the company
       17    documents.      I remember that conversation.
       18               Q.      Okay, so you asked Mr. Mayaka for
       19    the trust document; correct?
       20               A.      So I asked him or the for the trust
       21    document -- again, I don't remember the dates, but
       22    I am sure it was in December.           Yes.    Then I asked
       23    him for all the documents, so including company
       24    records and everything else in, I think it was
       25    January.
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        1                    RAMONA WATTS - CONFIDENTIAL
        2               Q.      Okay.    He gave you the trust
        3    documents, you already testified to that; correct?
        4               A.      He did.
        5               Q.      Did he give you these related
        6    company documents that are referred to here?
        7               A.      At a later stage, he did, yes.
        8               Q.      Did you turn those over to US
        9    counsel?
       10               A.      Yes.
       11               Q.      I am going to now go to the next
       12    paragraph, because it is saying something you
       13    specifically said -- I shouldn't say specifically,
       14    there is no quotation mark, it is talking about
       15    you.    Do you see that?
       16               A.      "My wife requested the trust
       17    agreement" that one?
       18               Q.      No, next paragraph?
       19               A.      Okay.
       20               Q.      Before looking at that paragraph
       21    let me ask you a question.          Did you understand
       22    that there was dispute in the lawsuit regarding
       23    the public addresses to certain Bitcoin?
       24               A.      No.
       25               Q.      Okay.    Here it says:      "Ramona told
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                                                                         Page 223
        1                      RAMONA WATTS - CONFIDENTIAL
        2                         MR. BRENNER:    Let's take a break.
        3                         THE EXAMINER:    It is now 4.38 in
        4    Britain, so if we take a break for five minutes
        5    this time, unless anybody needs longer.
        6                    (A short break off the record
        7                        from 4.38 to 4.47 p.m.)
        8                         THE COURT REPORTER:      We are going
        9    back on the record at 4.47.
       10    BY MR. BRENNER:
       11               Q.       Miss Watts, I just want to follow
       12    up on the very last thing we were talking about,
       13    which is at -- or at least partly talk about
       14    authentic and inauthentic documents.            Okay?
       15               A.       Sure.
       16               Q.       You made a reference a few times,
       17    that if you could see your corporate records you
       18    would be able to answer with better clarity some
       19    of the things I have asked you to today; is that
       20    true?
       21               A.       I believe so, yes.
       22               Q.       And you told me today that although
       23    you have referenced your corporate secretary on a
       24    few occasions, you do not know who that is;
       25    correct?
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        1                    RAMONA WATTS - CONFIDENTIAL
        2               A.      I don't know the name of the
        3    corporate secretary, they are in Brisbane.
        4               Q.      Okay.    Do you know how to contact
        5    them?
        6               A.      So, my secretary used to do that,
        7    my assistant used to do that.           I could find a way
        8    of contacting my assistant, but I haven't
        9    contacted her in five years.
       10               Q.      You haven't contacted your
       11    assistant in five years?
       12               A.      Yes, this was the companies in
       13    Australia.
       14               Q.      As you sit here today, you would
       15    not now know how to get in contact with the
       16    corporate secretary that you have referenced?               Is
       17    that fair?
       18               A.      I don't know.      I think I would have
       19    to try and find the search, I might be able to,
       20    I don't know.      I haven't tried.
       21               Q.      Are you aware of any accusations
       22    that have ever been made that DeMorgan Ltd
       23    submitted false documents to the Australian Tax
       24    Office; are you familiar with that allegation?
       25               A.      I am familiar that the Australian
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                                                                         Page 225
        1                    RAMONA WATTS - CONFIDENTIAL
        2    Tax Office might have mentioned that, but the
        3    thing is we were actually hacked, so I would not
        4    be surprised if some of our staff changed some of
        5    our documents.
        6               Q.      Documents that were submitted by
        7    the Australian Tax Office; is it your testimony
        8    that if they were false it was someone else that
        9    did it?
       10               A.      Well, I certainly didn't do it.
       11               Q.      What about your husband?
       12               A.      He would doubt very much that he
       13    would have done something like that.
       14               Q.      Who is Andrew Sommers?
       15               A.      He was our lawyer in Australia.
       16               Q.      Do you trust him?
       17               A.      I don't know him personally.          He is
       18    a lawyer.
       19               Q.      Do you remember the name of his law
       20    firm?
       21               A.      Clayton Utz.
       22               Q.      Did they Clayton Utz represent
       23    DeMorgan in connection with -- well, did Clayton
       24    Utz ever represent DeMorgan Limited?
       25               A.      I do not know if he represented the
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                                                                         Page 226
        1                    RAMONA WATTS - CONFIDENTIAL
        2    companies, I actually really don't know the
        3    relationship whether he represented Craig
        4    personally, or represented the companies.              It
        5    probably was the companies.          I am not sure which
        6    one in particular.
        7               Q.      Okay.    If you could go to tab 32.
        8    Let me know when you are there?
        9               A.      Yes.
       10            (Exhibit 10 marked for identification)
       11               Q.      Miss Watts, do you see what I have
       12    marked as exhibit 10?
       13               A.      I do.
       14               Q.      Is that a letter from Clayton Utz?
       15               A.      Yes.
       16               Q.      Is it an authentic letter?
       17               A.      I do not know, but I recognise it.
       18               Q.      It is e-mailed to you; correct?
       19               A.      Yes.
       20               Q.      As a director of what company?
       21               A.      As a director of DeMorgan.
       22               Q.      It has your e-mail address, was
       23    that your Hotwire e-mail address?
       24               A.      Its was, but we worked across
       25    several companies, as I said to you before.
